                                                  Case 12-20828-RBR                          Doc 1            Filed 05/01/12                      Page 1 of 51
B1 (Official Form 1)(12/11)
                                                  United States Bankruptcy Court
                                                          Southern District of Florida                                                                             Voluntary Petition
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 Name of Debtor (if individual, enter Last, First, Middle):                                                 Name of Joint Debtor (Spouse) (Last, First, Middle):
  Prieto, Rosendo E.


All Other Names used by the Debtor in the last 8 years                                                      All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                                 (include married, maiden, and trade names):




Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN                           Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all)                                                                               (if more than one, state all)
  xxx-xx-6421
Street Address of Debtor (No. and Street, City, and State):                                                 Street Address of Joint Debtor (No. and Street, City, and State):
  15997 SW 14 Street
  Hollywood, FL
                                                                                           ZIP Code                                                                                        ZIP Code
                                                                                         33027
County of Residence or of the Principal Place of Business:                                                  County of Residence or of the Principal Place of Business:
  Broward
Mailing Address of Debtor (if different from street address):                                               Mailing Address of Joint Debtor (if different from street address):


                                                                                           ZIP Code                                                                                        ZIP Code

Location of Principal Assets of Business Debtor
(if different from street address above):


                       Type of Debtor                                       Nature of Business                                              Chapter of Bankruptcy Code Under Which
          (Form of Organization) (Check one box)                               (Check one box)                                                 the Petition is Filed (Check one box)
     Individual (includes Joint Debtors)                            Health Care Business                                    Chapter 7
     See Exhibit D on page 2 of this form.                          Single Asset Real Estate as defined                                                     Chapter 15 Petition for Recognition
                                                                                                                            Chapter 9
     Corporation (includes LLC and LLP)                             in 11 U.S.C. § 101 (51B)                                                                of a Foreign Main Proceeding
                                                                                                                            Chapter 11
     Partnership                                                    Railroad
                                                                                                                            Chapter 12                      Chapter 15 Petition for Recognition
     Other (If debtor is not one of the above entities,             Stockbroker
                                                                                                                            Chapter 13                      of a Foreign Nonmain Proceeding
     check this box and state type of entity below.)                Commodity Broker
                                                                    Clearing Bank
                                                                    Other                                                                               Nature of Debts
                   Chapter 15 Debtors
                                                                           Tax-Exempt Entity                                                             (Check one box)
 Country of debtor's center of main interests:
                                                                          (Check box, if applicable)                       Debts are primarily consumer debts,                 Debts are primarily
                                                                    Debtor is a tax-exempt organization                    defined in 11 U.S.C. § 101(8) as                    business debts.
 Each country in which a foreign proceeding
 by, regarding, or against debtor is pending:                       under Title 26 of the United States                    "incurred by an individual primarily for
                                                                    Code (the Internal Revenue Code).                      a personal, family, or household purpose."

                                Filing Fee (Check one box)                                    Check one box:                          Chapter 11 Debtors
     Full Filing Fee attached                                                                      Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                   Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
     Filing Fee to be paid in installments (applicable to individuals only). Must             Check if:
     attach signed application for the court's consideration certifying that the
                                                                                                   Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
     debtor is unable to pay fee except in installments. Rule 1006(b). See Official
                                                                                                   are less than $2,343,300 (amount subject to adjustment on 4/01/13 and every three years thereafter).
     Form 3A.
                                                                                              Check all applicable boxes:
     Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                  A plan is being filed with this petition.
     attach signed application for the court's consideration. See Official Form 3B.
                                                                                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                                                                   in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                                    THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
   Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
   there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors

     1-              50-            100-           200-       1,000-        5,001-        10,001-       25,001-       50,001-          OVER
     49              99             199            999        5,000        10,000         25,000        50,000        100,000         100,000

Estimated Assets

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million
Estimated Liabilities

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million
                                   Case 12-20828-RBR                      Doc 1         Filed 05/01/12                Page 2 of 51
B1 (Official Form 1)(12/11)                                                                                                                                                 Page 2
                                                                                      Name of Debtor(s):
Voluntary Petition                                                                      Prieto, Rosendo E.
(This page must be completed and filed in every case)
                      All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                           Case Number:                         Date Filed:
Where Filed: Southern District Florida                              12-13069                              2/08/12
Location                                                                              Case Number:                                   Date Filed:
Where Filed:
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                                             Relationship:                                  Judge:

                                     Exhibit A                                                                                  Exhibit B
                                                                                         (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,                I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                        have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934                12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                           under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                        required by 11 U.S.C. §342(b).

        Exhibit A is attached and made a part of this petition.                         X     /s/ James Alan Poe, Esquire                                May 1, 2012
                                                                                            Signature of Attorney for Debtor(s)                     (Date)
                                                                                              James Alan Poe, Esquire 0107956

                                                                                Exhibit C
  Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
       Yes, and Exhibit C is attached and made a part of this petition.
       No.

                                                                           Exhibit D
  (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
        Exhibit D completed and signed by the debtor is attached and made a part of this petition.
  If this is a joint petition:
        Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                      Information Regarding the Debtor - Venue
                                                                (Check any applicable box)
                    Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                    days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                    There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                    Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                    this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                    proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                    sought in this District.
                                       Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                               (Check all applicable boxes)
                    Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                     (Name of landlord that obtained judgment)




                                     (Address of landlord)

                    Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                    the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                    Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period
                    after the filing of the petition.
                    Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
                                     Case 12-20828-RBR                        Doc 1         Filed 05/01/12              Page 3 of 51
B1 (Official Form 1)(12/11)                                                                                                                                             Page 3
                                                                                           Name of Debtor(s):
Voluntary Petition                                                                           Prieto, Rosendo E.
(This page must be completed and filed in every case)
                                                                                    Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                               Signature of a Foreign Representative
     I declare under penalty of perjury that the information provided in this               I declare under penalty of perjury that the information provided in this petition
     petition is true and correct.                                                          is true and correct, that I am the foreign representative of a debtor in a foreign
     [If petitioner is an individual whose debts are primarily consumer debts and           proceeding, and that I am authorized to file this petition.
     has chosen to file under chapter 7] I am aware that I may proceed under
                                                                                            (Check only one box.)
     chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief
     available under each such chapter, and choose to proceed under chapter 7.                  I request relief in accordance with chapter 15 of title 11. United States Code.
     [If no attorney represents me and no bankruptcy petition preparer signs the                Certified copies of the documents required by 11 U.S.C. §1515 are attached.
     petition] I have obtained and read the notice required by 11 U.S.C. §342(b).
                                                                                                Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
     I request relief in accordance with the chapter of title 11, United States Code,           of title 11 specified in this petition. A certified copy of the order granting
     specified in this petition.                                                                recognition of the foreign main proceeding is attached.


      /s/ Rosendo E. Prieto                                                                X
 X                                                                                             Signature of Foreign Representative
     Signature of Debtor Rosendo E. Prieto

 X                                                                                             Printed Name of Foreign Representative
     Signature of Joint Debtor
                                                                                               Date
     Telephone Number (If not represented by attorney)                                            Signature of Non-Attorney Bankruptcy Petition Preparer
     May 1, 2012
                                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Date                                                                                      preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                               compensation and have provided the debtor with a copy of this document
                              Signature of Attorney*                                           and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                               110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
                                                                                               pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
 X    /s/ James Alan Poe, Esquire
                                                                                               chargeable by bankruptcy petition preparers, I have given the debtor notice
     Signature of Attorney for Debtor(s)                                                       of the maximum amount before preparing any document for filing for a
      James Alan Poe, Esquire 0107956                                                          debtor or accepting any fee from the debtor, as required in that section.
                                                                                               Official Form 19 is attached.
     Printed Name of Attorney for Debtor(s)
      JAMES ALAN POE, P.A.
                                                                                               Printed Name and title, if any, of Bankruptcy Petition Preparer
     Firm Name
      9500 S. DADELAND BLVD.
      SUITE 610                                                                                Social-Security number (If the bankrutpcy petition preparer is not
      MIAMI, FL 33156                                                                          an individual, state the Social Security number of the officer,
                                                                                               principal, responsible person or partner of the bankruptcy petition
     Address                                                                                   preparer.)(Required by 11 U.S.C. § 110.)

   JamesAPoe@bellsouth.net;JPoe@jamesalanpoepa.com
     305-670-3950 Fax: 305-670-3951
    Telephone Number
     May 1, 2012
                                                                                               Address
     Date
     *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
     certification that the attorney has no knowledge after an inquiry that the            X
     information in the schedules is incorrect.
                                                                                               Date
                Signature of Debtor (Corporation/Partnership)
                                                                                               Signature of bankruptcy petition preparer or officer, principal, responsible
     I declare under penalty of perjury that the information provided in this                  person,or partner whose Social Security number is provided above.
     petition is true and correct, and that I have been authorized to file this petition
     on behalf of the debtor.                                                                  Names and Social-Security numbers of all other individuals who prepared or
                                                                                               assisted in preparing this document unless the bankruptcy petition preparer is
     The debtor requests relief in accordance with the chapter of title 11, United             not an individual:
     States Code, specified in this petition.

 X
     Signature of Authorized Individual
                                                                                               If more than one person prepared this document, attach additional sheets
                                                                                               conforming to the appropriate official form for each person.
     Printed Name of Authorized Individual
                                                                                               A bankruptcy petition preparer’s failure to comply with the provisions of
                                                                                               title 11 and the Federal Rules of Bankruptcy Procedure may result in
     Title of Authorized Individual                                                            fines or imprisonment or both. 11 U.S.C. §110; 18 U.S.C. §156.

     Date
                                  Case 12-20828-RBR                    Doc 1     Filed 05/01/12   Page 4 of 51



B 1D (Official Form 1, Exhibit D) (12/09)
                                                          United States Bankruptcy Court
                                                                  Southern District of Florida
 In re     Rosendo E. Prieto                                                                       Case No.
                                                                               Debtor(s)           Chapter    13




                 EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                 CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.

           2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 14 days after your bankruptcy case is filed.

          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]
       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.

          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
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                                     Case 12-20828-RBR                    Doc 1   Filed 05/01/12       Page 5 of 51



B 1D (Official Form 1, Exhibit D) (12/09) - Cont.                                                                             Page 2

                       Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
            mental deficiency so as to be incapable of realizing and making rational decisions with respect to
            financial responsibilities.);
                       Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
            unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
            through the Internet.);
                       Active military duty in a military combat zone.

         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
            I certify under penalty of perjury that the information provided above is true and correct.

                                                  Signature of Debtor:         /s/ Rosendo E. Prieto
                                                                               Rosendo E. Prieto
                                                  Date:          May 1, 2012




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                                       Case 12-20828-RBR                   Doc 1    Filed 05/01/12       Page 6 of 51
B6 Summary (Official Form 6 - Summary) (12/07)


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                                                           United States Bankruptcy Court
                                                                   Southern District of Florida
 In re          Rosendo E. Prieto                                                                        Case No.
                                                                                                    ,
                                                                                   Debtor
                                                                                                         Chapter                         13




                                                               SUMMARY OF SCHEDULES
    Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
    B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
    Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
    also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




             NAME OF SCHEDULE                         ATTACHED           NO. OF        ASSETS                LIABILITIES                  OTHER
                                                       (YES/NO)          SHEETS

A - Real Property                                         Yes             1                 631,957.00


B - Personal Property                                     Yes             3                  43,228.00


C - Property Claimed as Exempt                            Yes             1


D - Creditors Holding Secured Claims                      Yes             1                                        864,945.86


E - Creditors Holding Unsecured                           Yes             2                                          8,798.00
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                           Yes             6                                        901,215.00
    Nonpriority Claims

G - Executory Contracts and                               Yes             1
   Unexpired Leases

H - Codebtors                                             Yes             1


I - Current Income of Individual                          Yes             2                                                                       5,504.19
    Debtor(s)

J - Current Expenditures of Individual                    Yes             2                                                                       5,909.00
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                20


                                                                    Total Assets            675,185.00


                                                                                     Total Liabilities           1,774,958.86




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                                        Case 12-20828-RBR                   Doc 1       Filed 05/01/12             Page 7 of 51
Form 6 - Statistical Summary (12/07)


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                                                           United States Bankruptcy Court
                                                                   Southern District of Florida
 In re           Rosendo E. Prieto                                                                                  Case No.
                                                                                                         ,
                                                                                       Debtor
                                                                                                                    Chapter                 13


              STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
         If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
         a case under chapter 7, 11 or 13, you must report all information requested below.

                  Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                  report any information here.

         This information is for statistical purposes only under 28 U.S.C. § 159.
         Summarize the following types of liabilities, as reported in the Schedules, and total them.


             Type of Liability                                                                  Amount

             Domestic Support Obligations (from Schedule E)                                                      0.00

             Taxes and Certain Other Debts Owed to Governmental Units
             (from Schedule E)
                                                                                                             8,798.00

             Claims for Death or Personal Injury While Debtor Was Intoxicated
             (from Schedule E) (whether disputed or undisputed)
                                                                                                                 0.00

             Student Loan Obligations (from Schedule F)                                                          0.00

             Domestic Support, Separation Agreement, and Divorce Decree
             Obligations Not Reported on Schedule E
                                                                                                                 0.00

             Obligations to Pension or Profit-Sharing, and Other Similar Obligations
             (from Schedule F)
                                                                                                                 0.00

                                                                            TOTAL                            8,798.00


             State the following:

             Average Income (from Schedule I, Line 16)                                                       5,504.19

             Average Expenses (from Schedule J, Line 18)                                                     5,909.00

             Current Monthly Income (from Form 22A Line 12; OR,
             Form 22B Line 11; OR, Form 22C Line 20 )                                                        7,210.67


             State the following:
             1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                 column
                                                                                                                                   384,794.86

             2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                 column
                                                                                                                 0.00

             3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                 PRIORITY, IF ANY" column
                                                                                                                                      8,798.00

             4. Total from Schedule F                                                                                              901,215.00

             5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                         1,294,807.86




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                                     Case 12-20828-RBR                   Doc 1       Filed 05/01/12         Page 8 of 51
B6A (Official Form 6A) (12/07)


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 In re         Rosendo E. Prieto                                                                             Case No.
                                                                                                 ,
                                                                                   Debtor

                                                         SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                 Husband,    Current Value of
                                                                         Nature of Debtor's       Wife,     Debtor's Interest in            Amount of
               Description and Location of Property                      Interest in Property     Joint, or  Property, without             Secured Claim
                                                                                                Community Deducting  any Secured
                                                                                                            Claim or Exemption

Location: 15997 SW 14 Street, Hollywood FL 33027                                                     J                  331,800.00                430,440.46

3621 SW 106 Avenue                                                                                   J                  148,351.00                200,000.00
Miami, FL 33165

5337 SW 116 Place                                                                                    J                  151,806.00                         0.00
Ocala, Fl 34476




                                                                                                 Sub-Total >            631,957.00         (Total of this page)

                                                                                                         Total >        631,957.00
  0    continuation sheets attached to the Schedule of Real Property
                                                                                                 (Report also on Summary of Schedules)
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                                     Case 12-20828-RBR                    Doc 1       Filed 05/01/12            Page 9 of 51
B6B (Official Form 6B) (12/07)


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 In re         Rosendo E. Prieto                                                                                 Case No.
                                                                                                     ,
                                                                                    Debtor

                                                    SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

1.    Cash on hand                                        Cash                                                              -                            10.00

2.    Checking, savings or other financial                Ckg/Svg account with CHASE                                        -                        2,000.00
      accounts, certificates of deposit, or               CKNG 1736
      shares in banks, savings and loan,
      thrift, building and loan, and                      Ckg/Svg account with CHASE                                        -                            50.00
      homestead associations, or credit                   SVNGS 1785
      unions, brokerage houses, or
      cooperatives.

3.    Security deposits with public                   X
      utilities, telephone companies,
      landlords, and others.

4.    Household goods and furnishings,                    Dining room furniture: Table, chairs                              -                        1,000.00
      including audio, video, and                         Living room furniture: Sofas, tables
      computer equipment.                                 Bedroom sets: Bed, dresser
                                                          Kitchen wares
                                                          Computer
                                                          Audio/Video: DVD player, Stereo, TVs

5.    Books, pictures and other art                       Books                                                             -                        1,000.00
      objects, antiques, stamp, coin,                     Location: 15997 SW 14 Street, Hollywood FL 33027
      record, tape, compact disc, and
      other collections or collectibles.

6.    Wearing apparel.                                    Clothing & shoes                                                  -                        2,000.00
                                                          Location: 15997 SW 14 Street, Hollywood FL 33027

7.    Furs and jewelry.                                   Jewelry: Chain                                                    -                           100.00

8.    Firearms and sports, photographic,                  Gym Equipment                                                     -                        2,000.00
      and other hobby equipment.                          Location: 15997 SW 14 Street, Hollywood FL 33027

9.    Interests in insurance policies.                X
      Name insurance company of each
      policy and itemize surrender or
      refund value of each.

10. Annuities. Itemize and name each                  X
    issuer.

                                                                                                                            Sub-Total >            8,160.00
                                                                                                                (Total of this page)

  2    continuation sheets attached to the Schedule of Personal Property

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                                    Case 12-20828-RBR                    Doc 1       Filed 05/01/12         Page 10 of 51
B6B (Official Form 6B) (12/07) - Cont.




 In re         Rosendo E. Prieto                                                                                 Case No.
                                                                                                     ,
                                                                                    Debtor

                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                           (Continuation Sheet)

                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

11. Interests in an education IRA as                  X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                    Employee Retirement Plan                                          H                      25,268.00
    other pension or profit sharing                       City of Miami Bch
    plans. Give particulars.

13. Stock and interests in incorporated               X
    and unincorporated businesses.
    Itemize.

14. Interests in partnerships or joint                X
    ventures. Itemize.

15. Government and corporate bonds                    X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                              X

17. Alimony, maintenance, support, and                X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.


19. Equitable or future interests, life               X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                      X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                 X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.


                                                                                                                            Sub-Total >          25,268.00
                                                                                                                (Total of this page)

Sheet 1 of 2          continuation sheets attached
to the Schedule of Personal Property

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                                    Case 12-20828-RBR                    Doc 1       Filed 05/01/12         Page 11 of 51
B6B (Official Form 6B) (12/07) - Cont.




 In re         Rosendo E. Prieto                                                                                 Case No.
                                                                                                     ,
                                                                                    Debtor

                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                           (Continuation Sheet)

                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

22. Patents, copyrights, and other                    X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                   X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations              X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                    2008 Dodge Ram                                                     -                       9,800.00
    other vehicles and accessories.

26. Boats, motors, and accessories.                   X

27. Aircraft and accessories.                         X

28. Office equipment, furnishings, and                X
    supplies.

29. Machinery, fixtures, equipment, and               X
    supplies used in business.

30. Inventory.                                        X

31. Animals.                                          X

32. Crops - growing or harvested. Give                X
    particulars.

33. Farming equipment and                             X
    implements.

34. Farm supplies, chemicals, and feed.               X

35. Other personal property of any kind               X
    not already listed. Itemize.




                                                                                                                            Sub-Total >            9,800.00
                                                                                                                (Total of this page)
                                                                                                                                 Total >         43,228.00
Sheet 2 of 2          continuation sheets attached
to the Schedule of Personal Property                                                                                        (Report also on Summary of Schedules)
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                                     Case 12-20828-RBR                         Doc 1       Filed 05/01/12             Page 12 of 51
 B6C (Official Form 6C) (4/10)


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  In re         Rosendo E. Prieto                                                                                        Case No.
                                                                                                             ,
                                                                                         Debtor

                                         SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                    Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                    $146,450. (Amount subject to adjustment on 4/1/13, and every three years thereafter
    11 U.S.C. §522(b)(2)                                                                                         with respect to cases commenced on or after the date of adjustment.)
    11 U.S.C. §522(b)(3)

                                                                                Specify Law Providing                           Value of                 Current Value of
                  Description of Property                                          Each Exemption                               Claimed                  Property Without
                                                                                                                               Exemption               Deducting Exemption
Real Property
Location: 15997 SW 14 Street, Hollywood FL                                Fla. Const. art. X, § 4(a)(1); Fla. Stat.                331,800.00                       331,800.00
33027                                                                     Ann. §§ 222.01 & 222.02

Cash on Hand
Cash                                                                      Fla. Const. art. X, § 4(a)(2)                                    10.00                            10.00

Household Goods and Furnishings
Dining room furniture: Table, chairs                                      Fla. Const. art. X, § 4(a)(2)                                  990.00                         1,000.00
Living room furniture: Sofas, tables
Bedroom sets: Bed, dresser
Kitchen wares
Computer
Audio/Video: DVD player, Stereo, TVs

Wearing Apparel
Clothing & shoes                                                          Fla. Const. art. X, § 4(a)(2)                                      0.00                       2,000.00
Location: 15997 SW 14 Street, Hollywood FL
33027

Interests in IRA, ERISA, Keogh, or Other Pension or Profit Sharing Plans
Employee Retirement Plan                            Fla. Stat. Ann. §§ 121.131,                                                      25,268.00                        25,268.00
City of Miami Bch                                   121.055(6)(e)

Automobiles, Trucks, Trailers, and Other Vehicles
2008 Dodge Ram                                                            Fla. Stat. Ann. § 222.25(1)                                  1,000.00                         9,800.00




                                                                                                             Total:                 359,068.00                       369,878.00
    0     continuation sheets attached to Schedule of Property Claimed as Exempt
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                                     Case 12-20828-RBR                         Doc 1             Filed 05/01/12       Page 13 of 51
 B6D (Official Form 6D) (12/07)


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  In re         Rosendo E. Prieto                                                                                          Case No.
                                                                                                              ,
                                                                                             Debtor

                                  SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                        C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
             CREDITOR'S NAME                            O                                                              O    N   I
                                                        D   H         DATE CLAIM WAS INCURRED,                         N    L   S        CLAIM
          AND MAILING ADDRESS                           E                                                              T    I   P       WITHOUT              UNSECURED
           INCLUDING ZIP CODE,                          B   W            NATURE OF LIEN, AND                           I    Q   U                            PORTION, IF
                                                        T   J           DESCRIPTION AND VALUE                          N    U   T
                                                                                                                                       DEDUCTING
          AND ACCOUNT NUMBER                            O                                                              G    I   E       VALUE OF                ANY
            (See instructions above.)
                                                            C                OF PROPERTY
                                                        R
                                                                            SUBJECT TO LIEN
                                                                                                                       E    D   D     COLLATERAL
                                                                                                                       N    A
                                                                                                                       T    T
Account No. 9161157934                                          11/27/07                                                    E
                                                                                                                            D

BB&T                                                            Mortgage
13636 W. St. Rd. 84
Fort Lauderdale, FL 33325                                     3621 SW 106 Avenue
                                                            - Miami, FL 33165

                                                                Value $                               148,351.00                        200,000.00                 51,649.00
Account No. 591036421

IRS
Cincinnati Svc Ctr.
Taxpayer Advocate
                                                        X -                                                                     X
POB 1235, Stopp 11
Cincinnati, OH 45201
                                                                Value $                                     0.00                           8,797.40                  8,797.40
Account No. 596617142                                           Opened 12/01/06 Last Active 12/01/09

Nationstar Mortgage Ll                                          ConventionalRealEstateMortgage
Attn: Bankruptcy
350 Highland Dr
                                                            -
Lewisville, TX 75067

                                                                Value $                                Unknown                          225,708.00               225,708.00
Account No. 0177182367                                          5/29/08

Wells Fargo Bank,N.A.                                           Mortgage
2600 Lake Lucien Drive
Maitland, FL 32751                                            Location: 15997 SW 14 Street,
                                                            - Hollywood FL 33027

                                                                Value $                               331,800.00                        430,440.46                 98,640.46
                                                                                                                    Subtotal
 0
_____ continuation sheets attached                                                                                                      864,945.86               384,794.86
                                                                                                           (Total of this page)
                                                                                                                     Total              864,945.86               384,794.86
                                                                                           (Report on Summary of Schedules)

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                                      Case 12-20828-RBR                          Doc 1          Filed 05/01/12                 Page 14 of 51
B6E (Official Form 6E) (4/10)


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 In re         Rosendo E. Prieto                                                                                                  Case No.
                                                                                                                     ,
                                                                                               Debtor

                  SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
          A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
    to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
    account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
    continuation sheet for each type of priority and label each with the type of priority.
          The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
    so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
    Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
          If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
    schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
    liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
    column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
    "Disputed." (You may need to place an "X" in more than one of these three columns.)
          Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
    "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
          Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
    listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
    also on the Statistical Summary of Certain Liabilities and Related Data.
          Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
    priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
    total also on the Statistical Summary of Certain Liabilities and Related Data.

         Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

    TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
         Domestic support obligations
        Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
    of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

         Extensions of credit in an involuntary case
        Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
    trustee or the order for relief. 11 U.S.C. § 507(a)(3).

         Wages, salaries, and commissions
        Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
    representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
    occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

         Contributions to employee benefit plans
       Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
    whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

         Certain farmers and fishermen
         Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

         Deposits by individuals
        Claims of individuals up to $2,600* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
    delivered or provided. 11 U.S.C. § 507(a)(7).

         Taxes and certain other debts owed to governmental units
         Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

         Commitments to maintain the capital of an insured depository institution
       Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
    Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

         Claims for death or personal injury while debtor was intoxicated
       Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
    another substance. 11 U.S.C. § 507(a)(10).




    * Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                            1         continuation sheets attached
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                                     Case 12-20828-RBR                         Doc 1             Filed 05/01/12      Page 15 of 51
 B6E (Official Form 6E) (4/10) - Cont.




  In re         Rosendo E. Prieto                                                                                         Case No.
                                                                                                             ,
                                                                                             Debtor

                   SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                 (Continuation Sheet)
                                                                                                                      Taxes and Certain Other Debts
                                                                                                                       Owed to Governmental Units
                                                                                                                                   TYPE OF PRIORITY
                                                        C   Husband, Wife, Joint, or Community                        C    U   D
            CREDITOR'S NAME,                            O                                                             O    N   I                      AMOUNT NOT
                                                        D                                                             N    L   S                      ENTITLED TO
          AND MAILING ADDRESS                           E   H         DATE CLAIM WAS INCURRED                         T    I   P      AMOUNT          PRIORITY, IF ANY
           INCLUDING ZIP CODE,                          B   W
                                                                    AND CONSIDERATION FOR CLAIM                       I    Q   U
                                                                                                                                      OF CLAIM
          AND ACCOUNT NUMBER                            T   J                                                         N    U   T                               AMOUNT
                                                        O                                                             G    I   E                            ENTITLED TO
             (See instructions.)                        R   C                                                         E    D   D
                                                                                                                      N    A
                                                                                                                                                               PRIORITY
                                                                                                                      T    T
Account No. 6421                                                                                                           E
                                                                                                                           D

IRS
Special Procedures                                                                                                                                    8,798.00
POB 7346
                                                            -
Philadelphia, PA 19101

                                                                                                                                          8,798.00                    0.00
Account No.




Account No.




Account No.




Account No.




       1
Sheet _____    1
            of _____  continuation sheets attached to                                                              Subtotal                           8,798.00
Schedule of Creditors Holding Unsecured Priority Claims                                                   (Total of this page)            8,798.00                    0.00
                                                                                                                     Total                            8,798.00
                                                                                           (Report on Summary of Schedules)               8,798.00                    0.00

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                                     Case 12-20828-RBR                         Doc 1           Filed 05/01/12         Page 16 of 51
 B6F (Official Form 6F) (12/07)


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  In re         Rosendo E. Prieto                                                                                        Case No.
                                                                                                               ,
                                                                                             Debtor


               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


      Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                     C    Husband, Wife, Joint, or Community                                C   U   D
                  CREDITOR'S NAME,                                   O                                                                      O   N   I
                  MAILING ADDRESS                                    D    H                                                                 N   L   S
                INCLUDING ZIP CODE,                                  E                DATE CLAIM WAS INCURRED AND                           T   I   P
                                                                          W
               AND ACCOUNT NUMBER
                                                                     B              CONSIDERATION FOR CLAIM. IF CLAIM                       I   Q   U
                                                                                                                                                        AMOUNT OF CLAIM
                                                                     T    J                                                                 N   U   T
                                                                     O                IS SUBJECT TO SETOFF, SO STATE.                       G   I   E
                 (See instructions above.)                           R
                                                                          C
                                                                                                                                            E   D   D
                                                                                                                                            N   A
Account No. 50691611579345998                                                 Opened 11/01/07 Last Active 3/26/10                           T   T
                                                                                                                                                E
                                                                              CreditLineSecured                                                 D

Bankfirst/BB & T
Attention: Bankruptcy                                                     -
Po Box 1847
Wilson, NC 27894
                                                                                                                                                                   212,691.00
Account No. 50691611579345998                                                 Opened 11/01/07 Last Active 3/26/10
                                                                              CreditLineSecured
Bankfirst/BB & T
Attention: Bankruptcy                                                     -
Po Box 1847
Wilson, NC 27894
                                                                                                                                                                   212,691.00
Account No. 50691611579345998                                                 Opened 11/01/07 Last Active 3/26/10
                                                                              CreditLineSecured
Bankfirst/BB & T
Attention: Bankruptcy                                                     -
Po Box 1847
Wilson, NC 27894
                                                                                                                                                                   212,691.00
Account No. 4115077716600129                                                  Opened 7/01/04 Last Active 10/20/11
                                                                              ChargeAccount
Capital One, N.a.
Capital One Bank (USA) N.A.                                               -
Po Box 30285
Salt Lake City, UT 84130
                                                                                                                                                                       9,693.00

                                                                                                                                        Subtotal
 5
_____ continuation sheets attached                                                                                                                                 647,766.00
                                                                                                                              (Total of this page)




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                                     Case 12-20828-RBR                         Doc 1           Filed 05/01/12      Page 17 of 51
 B6F (Official Form 6F) (12/07) - Cont.




  In re         Rosendo E. Prieto                                                                                   Case No.
                                                                                                               ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                       C   U   D
                  CREDITOR'S NAME,                                   O                                                             O   N   I
                  MAILING ADDRESS                                    D    H                                                        N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                  T   I   P
                                                                     B                                                             I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM              N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.              G   I   E
                 (See instructions above.)                           R                                                             E   D   D
                                                                                                                                   N   A
                                                                                                                                   T   T
Account No. 5178052301752776                                                  Opened 3/01/03 Last Active 10/20/11                      E
                                                                              CreditCard                                               D

Capital One, N.a.
Capital One Bank (USA) N.A.                                               -
Po Box 30285
Salt Lake City, UT 84130
                                                                                                                                                           3,136.00
Account No. 4115077716600129                                                  Opened 7/01/04 Last Active 10/20/11
                                                                              ChargeAccount
Capital One, N.a.
Capital One Bank (USA) N.A.                                               -
Po Box 30285
Salt Lake City, UT 84130
                                                                                                                                                           9,693.00
Account No. 5178052301752776                                                  Opened 3/01/03 Last Active 10/20/11
                                                                              CreditCard
Capital One, N.a.
Capital One Bank (USA) N.A.                                               -
Po Box 30285
Salt Lake City, UT 84130
                                                                                                                                                           3,136.00
Account No. 7002602078                                                        Opened 12/01/07 Last Active 1/19/11
                                                                              Lease
Chrysler Financial/TD Auto Finance
Attention: Bankruptcy                                                     -
Po Box 551080
Jacksonville, FL 32255
                                                                                                                                                                 0.00
Account No. 7002602078                                                        Opened 12/01/07 Last Active 1/19/11
                                                                              Lease
Chrysler Financial/TD Auto Finance
Attention: Bankruptcy                                                     -
Po Box 551080
Jacksonville, FL 32255
                                                                                                                                                                 0.00

           1
Sheet no. _____     5
                of _____ sheets attached to Schedule of                                                                          Subtotal
                                                                                                                                                         15,965.00
Creditors Holding Unsecured Nonpriority Claims                                                                         (Total of this page)




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                                     Case 12-20828-RBR                         Doc 1           Filed 05/01/12      Page 18 of 51
 B6F (Official Form 6F) (12/07) - Cont.




  In re         Rosendo E. Prieto                                                                                   Case No.
                                                                                                               ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                       C   U   D
                  CREDITOR'S NAME,                                   O                                                             O   N   I
                  MAILING ADDRESS                                    D    H                                                        N   L   S
                INCLUDING ZIP CODE,
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                                                                                      DATE CLAIM WAS INCURRED AND                  T   I   P
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               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM              N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.              G   I   E
                 (See instructions above.)                           R                                                             E   D   D
                                                                                                                                   N   A
                                                                                                                                   T   T
Account No. 7302827673714859                                                  Opened 9/01/96 Last Active 6/22/10                       E
                                                                              CreditCard                                               D

Exxmblciti
Attn.: Centralized Bankruptcy                                             -
Po Box 20363
Kansas City, MO 64195
                                                                                                                                                                 0.00
Account No. 7302827673714859                                                  Opened 9/01/96 Last Active 6/22/10
                                                                              CreditCard
Exxmblciti
Attn.: Centralized Bankruptcy                                             -
Po Box 20363
Kansas City, MO 64195
                                                                                                                                                                 0.00
Account No. 5178007271021982                                                  Opened 9/01/03 Last Active 10/26/11
                                                                              CreditCard
First Premier Bank
601 S Minnesota Ave                                                       -
Sioux Falls, SD 57104

                                                                                                                                                             668.00
Account No. 5178007271021982                                                  Opened 9/01/03 Last Active 10/26/11
                                                                              CreditCard
First Premier Bank
601 S Minnesota Ave                                                       -
Sioux Falls, SD 57104

                                                                                                                                                             668.00
Account No.                                                                   Attorney for Wells Fargo Bank

Florida Default Law Group, P.L
POB 25018                                                                 -
Tampa, FL 33622

                                                                                                                                                                 0.00

           2
Sheet no. _____     5
                of _____ sheets attached to Schedule of                                                                          Subtotal
                                                                                                                                                           1,336.00
Creditors Holding Unsecured Nonpriority Claims                                                                         (Total of this page)




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                                     Case 12-20828-RBR                         Doc 1           Filed 05/01/12      Page 19 of 51
 B6F (Official Form 6F) (12/07) - Cont.




  In re         Rosendo E. Prieto                                                                                   Case No.
                                                                                                               ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                       C   U   D
                  CREDITOR'S NAME,                                   O                                                             O   N   I
                  MAILING ADDRESS                                    D    H                                                        N   L   S
                INCLUDING ZIP CODE,
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               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM              N   U   T   AMOUNT OF CLAIM
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                 (See instructions above.)                           R                                                             E   D   D
                                                                                                                                   N   A
                                                                                                                                   T   T
Account No. 6019170113004623                                                  Opened 1/18/09 Last Active 4/23/10                       E
                                                                              ChargeAccount                                            D

Gecrb/brandsmart
Po Box 981439                                                             -
El Paso, TX 79998

                                                                                                                                                                 0.00
Account No. 6019170113004623                                                  Opened 1/18/09 Last Active 4/23/10
                                                                              ChargeAccount
Gecrb/brandsmart
Po Box 981439                                                             -
El Paso, TX 79998

                                                                                                                                                                 0.00
Account No. 5440455075471246                                                  Opened 9/01/03 Last Active 10/20/11
                                                                              CreditCard
Hsbc Bank
Attn: Bankruptcy                                                          -
Po Box 5213
Carol Stream, IL 60197
                                                                                                                                                           2,463.00
Account No. 5440455075471246                                                  Opened 9/01/03 Last Active 10/20/11
                                                                              CreditCard
Hsbc Bank
Attn: Bankruptcy                                                          -
Po Box 5213
Carol Stream, IL 60197
                                                                                                                                                           2,463.00
Account No. 7981923102225333                                                  Opened 4/15/03 Last Active 1/17/12
                                                                              ChargeAccount
Lowes / MBGA / GEMB
Attention: Bankruptcy Department                                          -
Po Box 103104
Roswell, GA 30076
                                                                                                                                                           2,757.00

           3
Sheet no. _____     5
                of _____ sheets attached to Schedule of                                                                          Subtotal
                                                                                                                                                           7,683.00
Creditors Holding Unsecured Nonpriority Claims                                                                         (Total of this page)




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                                     Case 12-20828-RBR                         Doc 1           Filed 05/01/12      Page 20 of 51
 B6F (Official Form 6F) (12/07) - Cont.




  In re         Rosendo E. Prieto                                                                                   Case No.
                                                                                                               ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                       C   U   D
                  CREDITOR'S NAME,                                   O                                                             O   N   I
                  MAILING ADDRESS                                    D    H                                                        N   L   S
                INCLUDING ZIP CODE,
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               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM              N   U   T   AMOUNT OF CLAIM
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                 (See instructions above.)                           R                                                             E   D   D
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Account No. 7981923102225333                                                  Opened 4/15/03 Last Active 1/17/12                       E
                                                                              ChargeAccount                                            D

Lowes / MBGA / GEMB
Attention: Bankruptcy Department                                          -
Po Box 103104
Roswell, GA 30076
                                                                                                                                                           2,757.00
Account No. 596617142                                                         Opened 12/01/06 Last Active 12/01/09
                                                                              ConventionalRealEstateMortgage
Nationstar Mortgage Ll
Attn: Bankruptcy                                                          -
350 Highland Dr
Lewisville, TX 75067
                                                                                                                                                       225,708.00
Account No. 9420035359587                                                     Opened 12/11/06 Last Active 12/15/09
                                                                              ConventionalRealEstateMortgage
Suntrust Mortgage/cc 5
Attention: Bankruptcy Division                                            -
Po Box 85092
Richmond, VA 23286
                                                                                                                                                                 0.00
Account No. 9420035359587                                                     Opened 12/11/06 Last Active 12/15/09
                                                                              ConventionalRealEstateMortgage
Suntrust Mortgage/cc 5
Attention: Bankruptcy Division                                            -
Po Box 85092
Richmond, VA 23286
                                                                                                                                                                 0.00
Account No. 7080177182367                                                     Opened 5/29/08 Last Active 3/15/10
                                                                              ConventionalRealEstateMortgage
Wells Fargo Hm Mortgag
8480 Stagecoach Cir                                                       -
Frederick, MD 21701

                                                                                                                                                                 0.00

           4
Sheet no. _____     5
                of _____ sheets attached to Schedule of                                                                          Subtotal
                                                                                                                                                       228,465.00
Creditors Holding Unsecured Nonpriority Claims                                                                         (Total of this page)




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                                     Case 12-20828-RBR                         Doc 1           Filed 05/01/12          Page 21 of 51
 B6F (Official Form 6F) (12/07) - Cont.




  In re         Rosendo E. Prieto                                                                                        Case No.
                                                                                                                ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                             C   U   D
                  CREDITOR'S NAME,                                   O                                                                   O   N   I
                  MAILING ADDRESS                                    D    H                                                              N   L   S
                INCLUDING ZIP CODE,
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                                                                                      DATE CLAIM WAS INCURRED AND                        T   I   P
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               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.                    G   I   E
                 (See instructions above.)                           R                                                                   E   D   D
                                                                                                                                         N   A
                                                                                                                                         T   T
Account No. 7080177182367                                                     Opened 5/29/08 Last Active 3/15/10                             E
                                                                              ConventionalRealEstateMortgage                                 D

Wells Fargo Hm Mortgag
8480 Stagecoach Cir                                                       -
Frederick, MD 21701

                                                                                                                                                                       0.00
Account No.




Account No.




Account No.




Account No.




           5
Sheet no. _____     5
                of _____ sheets attached to Schedule of                                                                                Subtotal
                                                                                                                                                                       0.00
Creditors Holding Unsecured Nonpriority Claims                                                                               (Total of this page)
                                                                                                                                         Total
                                                                                                               (Report on Summary of Schedules)              901,215.00


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                                     Case 12-20828-RBR                   Doc 1      Filed 05/01/12           Page 22 of 51
B6G (Official Form 6G) (12/07)


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 In re             Rosendo E. Prieto                                                                           Case No.
                                                                                                     ,
                                                                                   Debtor

                        SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
              Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
              of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
              complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
              state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
              disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                 Check this box if debtor has no executory contracts or unexpired leases.
                                                                                     Description of Contract or Lease and Nature of Debtor's Interest.
                  Name and Mailing Address, Including Zip Code,                           State whether lease is for nonresidential real property.
                      of Other Parties to Lease or Contract                                 State contract number of any government contract.




      0
                continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
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                                    Case 12-20828-RBR                    Doc 1    Filed 05/01/12      Page 23 of 51
B6H (Official Form 6H) (12/07)


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 In re          Rosendo E. Prieto                                                                       Case No.
                                                                                              ,
                                                                                 Debtor

                                                              SCHEDULE H - CODEBTORS
        Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
    by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
    commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
    Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
    any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
    by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
    state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
    disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
        Check this box if debtor has no codebtors.
                 NAME AND ADDRESS OF CODEBTOR                                       NAME AND ADDRESS OF CREDITOR

                 Alexandra. Prieto                                                  IRS
                 15997 SW 14 Street                                                 Cincinnati Svc Ctr.
                 Hollywood, FL 33027                                                Taxpayer Advocate
                                                                                    POB 1235, Stopp 11
                                                                                    Cincinnati, OH 45201




      0
              continuation sheets attached to Schedule of Codebtors
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                                 Case 12-20828-RBR             Doc 1       Filed 05/01/12            Page 24 of 51


B6I (Official Form 6I) (12/07)
 In re    Rosendo E. Prieto                                                                             Case No.
                                                                         Debtor(s)

                           SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
Debtor's Marital Status:                                                  DEPENDENTS OF DEBTOR AND SPOUSE
                                        RELATIONSHIP(S):                                             AGE(S):
      Separated                              son                                                         4
                                             daughter                                                    6
Employment:                                           DEBTOR                                                       SPOUSE
Occupation                          Bldg Inspector
Name of Employer                    City of Miami Beach
How long employed                   4 yrs
Address of Employer                 1700 Convention Ctr Dr.
                                    Miami Beach, FL 33139
INCOME: (Estimate of average or projected monthly income at time case filed)                                   DEBTOR                     SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                            $       7,210.67         $            0.00
2. Estimate monthly overtime                                                                             $           0.00         $            0.00

3. SUBTOTAL                                                                                              $         7,210.67       $             0.00


4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                                $         1,227.59       $             0.00
     b. Insurance                                                                                        $           138.91       $             0.00
     c. Union dues                                                                                       $             0.00       $             0.00
     d. Other (Specify)        See Detailed Income Attachment                                            $           823.98       $             0.00

5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $         2,190.48       $             0.00

6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $         5,020.19       $             0.00

7. Regular income from operation of business or profession or farm (Attach detailed statement)           $               0.00     $             0.00
8. Income from real property                                                                             $               0.00     $             0.00
9. Interest and dividends                                                                                $               0.00     $             0.00
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that of
      dependents listed above                                                                            $             484.00     $             0.00
11. Social security or government assistance
(Specify):                                                                                               $               0.00     $             0.00
                                                                                                         $               0.00     $             0.00
12. Pension or retirement income                                                                         $               0.00     $             0.00
13. Other monthly income
(Specify):                                                                                               $               0.00     $             0.00
                                                                                                         $               0.00     $             0.00

14. SUBTOTAL OF LINES 7 THROUGH 13                                                                       $             484.00     $             0.00

15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                         $         5,504.19       $             0.00

16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                                          $            5,504.19
                                                                                (Report also on Summary of Schedules and, if applicable, on
                                                                                Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
                                 Case 12-20828-RBR   Doc 1    Filed 05/01/12   Page 25 of 51


B6I (Official Form 6I) (12/07)

 In re    Rosendo E. Prieto                                                       Case No.
                                                             Debtor(s)

                          SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
                                          Detailed Income Attachment
Other Payroll Deductions:
Medicare                                                                          $          102.92   $   0.00
MB Retirement Plan                                                                $          576.85   $   0.00
MB Retirement Plan 2                                                              $          144.21   $   0.00
Total Other Payroll Deductions                                                    $          823.98   $   0.00
                           Case 12-20828-RBR           Doc 1      Filed 05/01/12         Page 26 of 51


B6J (Official Form 6J) (12/07)
 In re    Rosendo E. Prieto                                                                   Case No.
                                                                  Debtor(s)

         SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
    Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time
case filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly
expenses calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
1. Rent or home mortgage payment (include lot rented for mobile home)                                       $                   750.00
 a. Are real estate taxes included?                            Yes                No X
 b. Is property insurance included?                            Yes                No X
2. Utilities:      a. Electricity and heating fuel                                                          $                    60.00
                   b. Water and sewer                                                                       $                     0.00
                   c. Telephone                                                                             $                    26.00
                   d. Other Cable                                                                           $                    95.00
3. Home maintenance (repairs and upkeep)                                                                    $                    25.00
4. Food                                                                                                     $                   800.00
5. Clothing                                                                                                 $                   200.00
6. Laundry and dry cleaning                                                                                 $                   200.00
7. Medical and dental expenses                                                                              $                   170.00
8. Transportation (not including car payments)                                                              $                   850.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                         $                   300.00
10. Charitable contributions                                                                                $                    40.00
11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                               $                     0.00
                   b. Life                                                                                  $                     0.00
                   c. Health                                                                                $                     0.00
                   d. Auto                                                                                  $                    60.00
                   e. Other                                                                                 $                     0.00
12. Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify)                                                                                   $                    0.00
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
plan)
                   a. Auto                                                                                  $                     0.00
                   b. Other                                                                                 $                     0.00
                   c. Other                                                                                 $                     0.00
14. Alimony, maintenance, and support paid to others                                                        $                   484.00
15. Payments for support of additional dependents not living at your home                                   $                     0.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)            $                     0.00
17. Other See Detailed Expense Attachment                                                                   $                 1,849.00

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                    $                 5,909.00
if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
following the filing of this document:
      Dental Implants $5500
20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I                                                        $                 5,504.19
b. Average monthly expenses from Line 18 above                                                              $                 5,909.00
c. Monthly net income (a. minus b.)                                                                         $                  -404.81
                           Case 12-20828-RBR   Doc 1   Filed 05/01/12   Page 27 of 51


B6J (Official Form 6J) (12/07)
 In re    Rosendo E. Prieto                                                 Case No.
                                                       Debtor(s)

                  SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                          Detailed Expense Attachment




Other Expenditures:
Legal expenses                                                                          $     81.00
Daycare                                                                                 $    856.00
Medical expenses                                                                        $     56.00
Child care                                                                              $    516.00
Education for children under 18                                                         $    340.00
Total Other Expenditures                                                                $   1,849.00
                                   Case 12-20828-RBR                     Doc 1      Filed 05/01/12         Page 28 of 51
B6 Declaration (Official Form 6 - Declaration). (12/07)
                                                          United States Bankruptcy Court
                                                                  Southern District of Florida
 In re      Rosendo E. Prieto                                                                                Case No.
                                                                                   Debtor(s)                 Chapter    13




                                      DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of      22
            sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date May 1, 2012                                                      Signature   /s/ Rosendo E. Prieto
                                                                                   Rosendo E. Prieto
                                                                                   Debtor

    Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                     18 U.S.C. §§ 152 and 3571.




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                                 Case 12-20828-RBR                     Doc 1      Filed 05/01/12            Page 29 of 51

B7 (Official Form 7) (04/10)



                                                          United States Bankruptcy Court
                                                                  Southern District of Florida
 In re       Rosendo E. Prieto                                                                                 Case No.
                                                                                Debtor(s)                      Chapter        13

                                                   STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                               DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or
equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11
U.S.C. § 101.


               1. Income from employment or operation of business

    None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
               business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
               year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
               calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
               report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                            SOURCE
                          $6,656.00                         2012 YTD: Debtor City of Miami Beach
                          $95,639.00                        2011: Debtor City of Miami Beach
                          $102,289.00                       2010: Debtor City of Miami Beach

               2. Income other than from employment or operation of business

    None       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
               during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                            SOURCE


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                                 Case 12-20828-RBR                      Doc 1    Filed 05/01/12          Page 30 of 51


                                                                                                                                                             2

              3. Payments to creditors

     None     Complete a. or b., as appropriate, and c.

              a. Individual or joint debtor(s) with primarily consumer debts. List all payments on loans, installment purchases of goods or services,
              and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value
              of all property that constitutes or is affected by such transfer is less than $600. Indicate with an (*) any payments that were made to a
              creditor on account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved
              nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by
              either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

    NAME AND ADDRESS                                                    DATES OF                                                       AMOUNT STILL
       OF CREDITOR                                                      PAYMENTS                             AMOUNT PAID                 OWING

     None     b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
              immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
              transfer is less than $5,850*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
              account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
              budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and other
              transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
              filed.)

                                                                                                                  AMOUNT
                                                                        DATES OF                                   PAID OR
                                                                        PAYMENTS/                                VALUE OF              AMOUNT STILL
    NAME AND ADDRESS OF CREDITOR                                        TRANSFERS                               TRANSFERS                OWING

     None     c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
              creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
              spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

    NAME AND ADDRESS OF CREDITOR AND                                                                                                   AMOUNT STILL
         RELATIONSHIP TO DEBTOR                                         DATE OF PAYMENT                      AMOUNT PAID                 OWING

              4. Suits and administrative proceedings, executions, garnishments and attachments

     None     a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
              this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
              whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

    CAPTION OF SUIT                                                    NATURE OF         COURT OR AGENCY                                 STATUS OR
    AND CASE NUMBER                                                    PROCEEDING        AND LOCATION                                    DISPOSITION
    Wells Fargo Bank, N.A. vs. Rosendo E. Prieto                       Foreclosure       Broward County Courthouse                       Pending
    Case No.                                                                             201 S.E. 6th Street
                                                                                         Ft. Lauderdale, FL 33301

     None     b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
              preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
              property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
              filed.)

    NAME AND ADDRESS OF PERSON FOR WHOSE                                                    DESCRIPTION AND VALUE OF
       BENEFIT PROPERTY WAS SEIZED                                     DATE OF SEIZURE             PROPERTY
    DODGE RAM                                                          1/18/11              2008 Dodge Ram Truck
                                                                                            $15k




*   Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

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                                 Case 12-20828-RBR                     Doc 1   Filed 05/01/12           Page 31 of 51


                                                                                                                                                           3

             5. Repossessions, foreclosures and returns

   None      List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
             returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
             or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
             spouses are separated and a joint petition is not filed.)

                                                                 DATE OF REPOSSESSION,
NAME AND ADDRESS OF                                                FORECLOSURE SALE,         DESCRIPTION AND VALUE OF
 CREDITOR OR SELLER                                               TRANSFER OR RETURN                  PROPERTY
Wells Fargo Bank                                               6/27/11                       Single Family Residence @ 15997 SW 14 Street
2600 Lake Lucien Drive                                                                       Pemrboke Pines, Fl
Maitland, FL 32751
                                                                                             $331,800

             6. Assignments and receiverships

   None      a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
             this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
             joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                               DATE OF
NAME AND ADDRESS OF ASSIGNEE                                   ASSIGNMENT                    TERMS OF ASSIGNMENT OR SETTLEMENT

   None      b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
             preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
             property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
             filed.)

                                                          NAME AND LOCATION
NAME AND ADDRESS                                               OF COURT                        DATE OF            DESCRIPTION AND VALUE OF
  OF CUSTODIAN                                            CASE TITLE & NUMBER                  ORDER                    PROPERTY

             7. Gifts

   None      List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
             and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
             aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
             either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

  NAME AND ADDRESS OF                                     RELATIONSHIP TO                                            DESCRIPTION AND
PERSON OR ORGANIZATION                                     DEBTOR, IF ANY                    DATE OF GIFT             VALUE OF GIFT

             8. Losses

   None      List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
             since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                        DESCRIPTION OF CIRCUMSTANCES AND, IF
DESCRIPTION AND VALUE                                                   LOSS WAS COVERED IN WHOLE OR IN PART
    OF PROPERTY                                                            BY INSURANCE, GIVE PARTICULARS                      DATE OF LOSS




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                                 Case 12-20828-RBR                      Doc 1    Filed 05/01/12          Page 32 of 51


                                                                                                                                                              4

             9. Payments related to debt counseling or bankruptcy

   None      List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
             concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
             preceding the commencement of this case.

                                                                          DATE OF PAYMENT,                                AMOUNT OF MONEY
NAME AND ADDRESS                                                       NAME OF PAYOR IF OTHER                         OR DESCRIPTION AND VALUE
    OF PAYEE                                                                  THAN DEBTOR                                   OF PROPERTY
JAMES ALAN POE, P.A.                                                   2/9/12                                        $525.
9500 S. DADELAND BLVD.
SUITE 610
MIAMI, FL 33156
US Bankruptcy Court                                                    2/8/12                                        $306
Southern District of Fl.

             10. Other transfers

   None      a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
             transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
             filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
             spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF TRANSFEREE,                                                                DESCRIBE PROPERTY TRANSFERRED
    RELATIONSHIP TO DEBTOR                                             DATE                           AND VALUE RECEIVED

   None      b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
             trust or similar device of which the debtor is a beneficiary.

NAME OF TRUST OR OTHER                                                                         AMOUNT OF MONEY OR DESCRIPTION AND
DEVICE                                                                 DATE(S) OF              VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                       TRANSFER(S)             IN PROPERTY

             11. Closed financial accounts

   None      List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
             otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
             financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
             cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
             include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
             unless the spouses are separated and a joint petition is not filed.)

                                                                         TYPE OF ACCOUNT, LAST FOUR
                                                                         DIGITS OF ACCOUNT NUMBER,                    AMOUNT AND DATE OF SALE
NAME AND ADDRESS OF INSTITUTION                                         AND AMOUNT OF FINAL BALANCE                          OR CLOSING

             12. Safe deposit boxes

   None      List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
             immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
             depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
             filed.)

                                                      NAMES AND ADDRESSES
NAME AND ADDRESS OF BANK                              OF THOSE WITH ACCESS                      DESCRIPTION                   DATE OF TRANSFER OR
 OR OTHER DEPOSITORY                                  TO BOX OR DEPOSITORY                      OF CONTENTS                    SURRENDER, IF ANY

             13. Setoffs

   None      List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
             commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


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                                 Case 12-20828-RBR                     Doc 1    Filed 05/01/12          Page 33 of 51


                                                                                                                                                           5


NAME AND ADDRESS OF CREDITOR                                           DATE OF SETOFF                                AMOUNT OF SETOFF

             14. Property held for another person

   None      List all property owned by another person that the debtor holds or controls.


NAME AND ADDRESS OF OWNER                             DESCRIPTION AND VALUE OF PROPERTY                 LOCATION OF PROPERTY

             15. Prior address of debtor

   None      If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
             occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
             address of either spouse.

ADDRESS                                                                NAME USED                                     DATES OF OCCUPANCY

             16. Spouses and Former Spouses

   None      If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
             Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
             commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
             the community property state.

NAME
Alexandra Prieto

             17. Environmental Information.

             For the purpose of this question, the following definitions apply:

             "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
             or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
             statutes or regulations regulating the cleanup of these substances, wastes, or material.

                   "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
                   owned or operated by the debtor, including, but not limited to, disposal sites.

                   "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
                   pollutant, or contaminant or similar term under an Environmental Law

   None      a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
             or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
             the Environmental Law:

                                                      NAME AND ADDRESS OF                      DATE OF                      ENVIRONMENTAL
SITE NAME AND ADDRESS                                 GOVERNMENTAL UNIT                        NOTICE                       LAW

   None      b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
             Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                      NAME AND ADDRESS OF                      DATE OF                      ENVIRONMENTAL
SITE NAME AND ADDRESS                                 GOVERNMENTAL UNIT                        NOTICE                       LAW

   None      c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
             the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
             docket number.

NAME AND ADDRESS OF
GOVERNMENTAL UNIT                                                      DOCKET NUMBER                                 STATUS OR DISPOSITION




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                                 Case 12-20828-RBR                      Doc 1    Filed 05/01/12          Page 34 of 51


                                                                                                                                                             6

             18 . Nature, location and name of business

   None      a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
             ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
             partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
             immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
             within six years immediately preceding the commencement of this case.

             If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
             ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
             years immediately preceding the commencement of this case.

             If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
             ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
             years immediately preceding the commencement of this case.

                                LAST FOUR DIGITS OF
                                SOCIAL-SECURITY OR
                                OTHER INDIVIDUAL
                                TAXPAYER-I.D. NO.                                                                                BEGINNING AND
NAME                            (ITIN)/ COMPLETE EIN             ADDRESS                        NATURE OF BUSINESS               ENDING DATES

   None      b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


NAME                                                                   ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor, or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

             19. Books, records and financial statements

   None      a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
             supervised the keeping of books of account and records of the debtor.

NAME AND ADDRESS                                                                                         DATES SERVICES RENDERED

   None      b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
             of account and records, or prepared a financial statement of the debtor.

NAME                                            ADDRESS                                                  DATES SERVICES RENDERED

   None      c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
             of the debtor. If any of the books of account and records are not available, explain.

NAME                                                                                  ADDRESS

   None      d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
             issued by the debtor within two years immediately preceding the commencement of this case.

NAME AND ADDRESS                                                                               DATE ISSUED




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                                 Case 12-20828-RBR                      Doc 1     Filed 05/01/12         Page 35 of 51


                                                                                                                                                              7

             20. Inventories

   None      a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
             and the dollar amount and basis of each inventory.

                                                                                                         DOLLAR AMOUNT OF INVENTORY
DATE OF INVENTORY                               INVENTORY SUPERVISOR                                     (Specify cost, market or other basis)

   None      b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.


                                                                               NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
DATE OF INVENTORY                                                              RECORDS

             21 . Current Partners, Officers, Directors and Shareholders

   None      a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


NAME AND ADDRESS                                                       NATURE OF INTEREST                            PERCENTAGE OF INTEREST

   None      b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
             controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                         NATURE AND PERCENTAGE
NAME AND ADDRESS                                                       TITLE                             OF STOCK OWNERSHIP

             22 . Former partners, officers, directors and shareholders

   None      a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
             commencement of this case.

NAME                                                      ADDRESS                                                  DATE OF WITHDRAWAL

   None      b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
             immediately preceding the commencement of this case.

NAME AND ADDRESS                                                       TITLE                             DATE OF TERMINATION

             23 . Withdrawals from a partnership or distributions by a corporation

   None      If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
             in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
             commencement of this case.

NAME & ADDRESS                                                                                                       AMOUNT OF MONEY
OF RECIPIENT,                                                          DATE AND PURPOSE                              OR DESCRIPTION AND
RELATIONSHIP TO DEBTOR                                                 OF WITHDRAWAL                                 VALUE OF PROPERTY

             24. Tax Consolidation Group.

   None      If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
             group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
             of the case.

NAME OF PARENT CORPORATION                                                                          TAXPAYER IDENTIFICATION NUMBER (EIN)




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                                 Case 12-20828-RBR                       Doc 1     Filed 05/01/12            Page 36 of 51


                                                                                                                                                                   8

             25. Pension Funds.

   None      If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an
             employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

NAME OF PENSION FUND                                                                                    TAXPAYER IDENTIFICATION NUMBER (EIN)


                             DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


Date May 1, 2012                                                       Signature   /s/ Rosendo E. Prieto
                                                                                   Rosendo E. Prieto
                                                                                   Debtor

                 Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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                                 Case 12-20828-RBR                     Doc 1   Filed 05/01/12   Page 37 of 51
B 201A (Form 201A) (11/11)



                                                 UNITED STATES BANKRUPTCY COURT
                                                  SOUTHERN DISTRICT OF FLORIDA
                                      NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                               OF THE BANKRUPTCY CODE
          In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of
bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General
may examine all information you supply in connection with a bankruptcy case.

         You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that
you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any changes in
your address. If you are filing a joint case (a single bankruptcy case for two individuals married to each other), and each spouse lists
the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of each notice mailed
from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court requesting that each spouse
receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The
clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a
joint case must complete the briefing.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

           Chapter 7: Liquidation ($245 filing fee, $46 administrative fee, $15 trustee surcharge: Total Fee $306)
         Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted to
proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some cases,
the United States trustee (or bankruptcy administrator), the trustee, or creditors have the right to file a motion requesting that the court
dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
         Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
         The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
purpose for which you filed the bankruptcy petition will be defeated.
         Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property settlement
obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while intoxicated
from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and
malicious injury, the bankruptcy court may determine that the debt is not discharged.

       Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
$46 administrative fee: Total fee $281)
           Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over


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                                 Case 12-20828-RBR                     Doc 1   Filed 05/01/12   Page 38 of 51
Form B 201A, Notice to Consumer Debtor(s)                                                                                         Page 2

a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
Code.
         Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using
your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.
         After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.

           Chapter 11: Reorganization ($1000 filing fee, $46 administrative fee: Total fee $1046)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

           Chapter 12: Family Farmer or Fisherman ($200 filing fee, $46 administrative fee: Total fee $246)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court. The
documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.




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                                 Case 12-20828-RBR                       Doc 1     Filed 05/01/12         Page 39 of 51



B 201B (Form 201B) (12/09)
                                                          United States Bankruptcy Court
                                                                  Southern District of Florida
 In re     Rosendo E. Prieto                                                                                 Case No.
                                                                                 Debtor(s)                   Chapter        13

                                 CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                     UNDER § 342(b) OF THE BANKRUPTCY CODE
                                                                       Certification of Debtor
           I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
Code.
Rosendo E. Prieto                                                                  X /s/ Rosendo E. Prieto                       May 1, 2012
Printed Name(s) of Debtor(s)                                                         Signature of Debtor                         Date

Case No. (if known)                                                                X
                                                                                       Signature of Joint Debtor (if any)        Date




Instructions: Attach a copy of Form B 201 A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has NOT been made on the
Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor's attorney that the attorney has given the
notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on page 3 of Form B1 also include this certification.
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                                 Case 12-20828-RBR                       Doc 1     Filed 05/01/12   Page 40 of 51




                                                          United States Bankruptcy Court
                                                                  Southern District of Florida
 In re     Rosendo E. Prieto                                                                          Case No.
                                                                                  Debtor(s)           Chapter    13




                                           VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



Date: May 1, 2012                                                      /s/ Rosendo E. Prieto
                                                                       Rosendo E. Prieto
                                                                       Signature of Debtor




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    Case 12-20828-RBR   Doc 1   Filed 05/01/12   Page 41 of 51



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            Alexandra. Prieto
            15997 SW 14 Street
            Hollywood, FL 33027


            Bankfirst/BB & T
            Attention: Bankruptcy
            Po Box 1847
            Wilson, NC 27894


            Bankfirst/BB & T
            Attention: Bankruptcy
            Po Box 1847
            Wilson, NC 27894


            Bankfirst/BB & T
            Attention: Bankruptcy
            Po Box 1847
            Wilson, NC 27894


            BB&T
            13636 W. St. Rd. 84
            Fort Lauderdale, FL 33325


            Capital One, N.a.
            Capital One Bank (USA) N.A.
            Po Box 30285
            Salt Lake City, UT 84130


            Capital One, N.a.
            Capital One Bank (USA) N.A.
            Po Box 30285
            Salt Lake City, UT 84130


            Capital One, N.a.
            Capital One Bank (USA) N.A.
            Po Box 30285
            Salt Lake City, UT 84130


            Capital One, N.a.
            Capital One Bank (USA) N.A.
            Po Box 30285
            Salt Lake City, UT 84130
Case 12-20828-RBR   Doc 1   Filed 05/01/12   Page 42 of 51




        Chrysler Financial/TD Auto Finance
        Attention: Bankruptcy
        Po Box 551080
        Jacksonville, FL 32255


        Chrysler Financial/TD Auto Finance
        Attention: Bankruptcy
        Po Box 551080
        Jacksonville, FL 32255


        Exxmblciti
        Attn.: Centralized Bankruptcy
        Po Box 20363
        Kansas City, MO 64195


        Exxmblciti
        Attn.: Centralized Bankruptcy
        Po Box 20363
        Kansas City, MO 64195


        First Premier Bank
        601 S Minnesota Ave
        Sioux Falls, SD 57104


        First Premier Bank
        601 S Minnesota Ave
        Sioux Falls, SD 57104


        Florida Default Law Group, P.L
        POB 25018
        Tampa, FL 33622


        Gecrb/brandsmart
        Po Box 981439
        El Paso, TX 79998


        Gecrb/brandsmart
        Po Box 981439
        El Paso, TX 79998


        Hsbc Bank
        Attn: Bankruptcy
        Po Box 5213
        Carol Stream, IL 60197
Case 12-20828-RBR   Doc 1   Filed 05/01/12   Page 43 of 51




        Hsbc Bank
        Attn: Bankruptcy
        Po Box 5213
        Carol Stream, IL 60197


        IRS
        Special Procedures
        POB 7346
        Philadelphia, PA 19101


        IRS
        Cincinnati Svc Ctr.
        Taxpayer Advocate
        POB 1235, Stopp 11
        Cincinnati, OH 45201


        Lowes / MBGA / GEMB
        Attention: Bankruptcy Department
        Po Box 103104
        Roswell, GA 30076


        Lowes / MBGA / GEMB
        Attention: Bankruptcy Department
        Po Box 103104
        Roswell, GA 30076


        Nationstar Mortgage Ll
        Attn: Bankruptcy
        350 Highland Dr
        Lewisville, TX 75067


        Nationstar Mortgage Ll
        Attn: Bankruptcy
        350 Highland Dr
        Lewisville, TX 75067


        Suntrust Mortgage/cc 5
        Attention: Bankruptcy Division
        Po Box 85092
        Richmond, VA 23286


        Suntrust Mortgage/cc 5
        Attention: Bankruptcy Division
        Po Box 85092
        Richmond, VA 23286
Case 12-20828-RBR   Doc 1   Filed 05/01/12   Page 44 of 51




        Wells Fargo Bank,N.A.
        2600 Lake Lucien Drive
        Maitland, FL 32751


        Wells Fargo Hm Mortgag
        8480 Stagecoach Cir
        Frederick, MD 21701


        Wells Fargo Hm Mortgag
        8480 Stagecoach Cir
        Frederick, MD 21701
                           Case 12-20828-RBR                       Doc 1     Filed 05/01/12          Page 45 of 51


                                             Disclosure Pursuant to 11 U.S.C. §527(a)(2)

      You are notified:

      1. All information that you are required to provide with a petition and thereafter during a case
         under the Bankruptcy Code is required to be complete, accurate, and truthful.

      2. All assets and all liabilities are required to be completely and accurately disclosed in the
         documents filed to commence the case. Some places in the Bankruptcy Code require that you
         list the replacement value of each asset. This must be the replacement value of the property at
         the date of filing the petition, without deducting for costs of sale or marketing, established
         after a reasonable inquiry. For property acquired for personal, family, or household use,
         replacement value means the price a retail merchant would charge for property of that kind,
         considering the age and condition of the property.

      3. The following information, which appears on Official Form 22, Statement of Current
         Monthly Income, is required to be stated after reasonable inquiry: current monthly income,
         the amounts specified in section 707(b)(2), and, in a case under chapter 13 of the Bankruptcy
         Code, disposable income (determined in accordance with section 707(b)(2)).

      4. Information that you provide during your case may be audited pursuant to provisions of the
         Bankruptcy Code. Failure to provide such information may result in dismissal of the case
         under this title or other sanction, including criminal sanctions.



Date May 1, 2012                                                Signature    /s/ Rosendo E. Prieto
                                                                             Rosendo E. Prieto
                                                                             Debtor




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                           Case 12-20828-RBR                       Doc 1     Filed 05/01/12          Page 46 of 51


                    IMPORTANT INFORMATION ABOUT BANKRUPTCY ASSISTANCE
                     SERVICES FROM AN ATTORNEY OR BANKRUPTCY PETITION
                                         PREPARER.

      If you decide to seek bankruptcy relief, you can represent yourself, you can hire an attorney to
      represent you, or you can get help in some localities from a bankruptcy petition preparer who is
      not an attorney. THE LAW REQUIRES AN ATTORNEY OR BANKRUPTCY PETITION
      PREPARER TO GIVE YOU A WRITTEN CONTRACT SPECIFYING WHAT THE
      ATTORNEY OR BANKRUPTCY PETITION PREPARER WILL DO FOR YOU AND HOW
      MUCH IT WILL COST. Ask to see the contract before you hire anyone.

      The following information helps you understand what must be done in a routine bankruptcy case
      to help you evaluate how much service you need. Although bankruptcy can be complex, many
      cases are routine.

      Before filing a bankruptcy case, either you or your attorney should analyze your eligibility for
      different forms of debt relief available under the Bankruptcy Code and which form of relief is
      most likely to be beneficial for you. Be sure you understand the relief you can obtain and its
      limitations. To file a bankruptcy case, documents called a Petition, Schedules, and Statement of
      Financial Affairs, and in some cases a Statement of Intention, need to be prepared correctly and
      filed with the bankruptcy court. You will have to pay a filing fee to the bankruptcy court. Once
      your case starts, you will have to attend the required first meeting of the creditors where you may
      be questioned by a court official called a 'trustee' and by creditors.

      If you choose to file a chapter 7 case, you may be asked by a creditor to reaffirm a debt. You
      may want help deciding whether to do so. A creditor is not permitted to coerce you into
      reaffirming your debts.

      If you choose to file a chapter 13 case in which you repay your creditors what you can afford
      over 3 to 5 years, you may also want help with preparing your chapter 13 plan and with the
      confirmation hearing on your plan which will be before a bankruptcy judge.

      If you select another type of relief under the Bankruptcy Code other than chapter 7 or chapter 13,
      you will want to find out what should be done from someone familiar with that type of relief.

      Your bankruptcy case may also involve litigation. You are generally permitted to represent
      yourself in litigation in bankruptcy court, but only attorneys, not bankruptcy petition preparers,
      can give you legal advice.

Date May 1, 2012                                                Signature    /s/ Rosendo E. Prieto
                                                                             Rosendo E. Prieto
                                                                             Debtor




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                                  Case 12-20828-RBR                        Doc 1       Filed 05/01/12          Page 47 of 51


                                                  UNITED STATES BANKRUPTCY COURT
                                                                       Southern District of Florida
                                                                       www.flsb.uscourts.gov

 In Re:                                                                                Case Number
 Rosendo E. Prieto                                                                     Chapter 13


                                                                  Debtor(s)        /


     DECLARATION UNDER PENALTY OF PERJURY TO ACCOMPANY PETITIONS, SCHEDULES, FILING
                 FEE APPLICATIONS AND STATEMENTS FILED ELECTRONICALLY

Note: This declaration must be filed with each electronically filed initial petition or amended petition and must contain the imaged
signature of the debtor. This declaration must also be filed with an initial schedule, Application to Pay Filing Fee in Installments,
Application for Waiver of the Chapter 7 Filing Fee, SFA, Statement of Social Security Number, or Statement of Current Monthly
Income (OBF 22) not filed with the initial petition or any amended schedules, SFA, Statement of Social Security Number, and/or
Statement of Current Monthly Income (OBF 22) unless these documents contain an imaged signature of the debtor(s).

Check all documents that apply to this declaration

                                                                                          Application for Waiver of the Chapter 7 Filing Fee for Individuals Who
      Application by Individual Debtor to Pay Filing Fee in Installments                   Cannot Pay the Filing Fee in Full or in Installments
      Voluntary petition signed by me on                               May 1, 2012        Amended voluntary petition signed by me on
      Schedules signed by me on                                        May 1, 2012        Amended schedules signed by me on
      Statement of Financial Affairs signed by me on                   May 1, 2012        Amended Statement of Financial Affairs signed by me on
      Statement of Social Security Number(s) signed by                                    Amended Statement of Social Security Number(s) signed by
        me on                                                          May 1, 2012         me on
      Statement of Current Monthly Income (OBF 22)                                        Amended Statement of Current Monthly Income (OBF 22)
        signed by me on                                                May 1, 2012         signed by me on


I,      Rosendo E. Prieto              , the undersigned debtor(s) hereby declare under penalty of perjury as follows:

1.        I have reviewed and signed the original(s) of the document(s) identified above and the information contained in the Verified
          Document(s) is true and correct to the best of my knowledge and belief.

2.        I understand that Verified Document(s) filed in electronic form shall be treated for all purposes (both civil and criminal,
          including penalties of perjury) in the same manner as though signed or subscribed.

3.        I understand that the Verified Document(s) will be filed by my attorney in electronic form in connection with the above
          captioned case and that I have received and reviewed copies of the Verified Document(s) I have signed.

4.        I understand that my attorney is required by the court to retain the original signed Verified Document(s) for five years from date
          of discharge, dismissal or the conclusion of any pending appeals in this case and provide these documents to the court upon
          request at any time.


 Signature of Debtor                                                                     Signature of Joint Debtor (if applicable)
 (If non individual, authorized corporate representative)

 Rosendo E. Prieto
 Print or Type Name (and title if applicable)                                            Print Name

 James Alan Poe, Esquire 0107956                                                         305-670-3950
 Print or Type Name of Attorney for Debtor                                               Phone:


LF-11 (rev. 03/06/12)
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                                 Case 12-20828-RBR                     Doc 1     Filed 05/01/12   Page 48 of 51




                                                 UNITED STATES BANKRUPTCY COURT
                                                  SOUTHERN DISTRICT OF FLORIDA
                                                         www.flsb.uscourts.gov


                        RIGHTS AND RESPONSIBILITIES AGREEMENT BETWEEN
                   CHAPTER 13 DEBTOR(S) AND CHAPTER 13 DEBTOR(S)' ATTORNEY FOR
                      CASES FILED IN THE UNITED STATES BANKRUPTCY COURT,
                                  SOUTHERN DISTRICT OF FLORIDA


This agreement between the debtor(s) and the debtor(s)’ attorney which is required under Local Rule
2016-1(B)(2)(a) and acknowledges that it is important for debtor(s) to understand the debtor(s)’ rights and
responsibilities to the court, the chapter 13 trustee and creditors and that the debtor(s)’attorney is expected to
perform certain services that the debtor(s) is entitled to receive, including but not limited to the following:
BEFORE THE CASE IS FILED:
           THE DEBTOR(S) AGREE TO:
           1.          Discuss debtor(s)’objectives for filing the case with the attorney.
           2.          Timely provide the attorney with full and accurate financial and other information, including
                       properly documented proof of income and payment advices reflecting payment within 60
                       calendar days prior to the date of filing the bankruptcy petition and a copy of the debtor’s Federal
                       tax return for the most recent tax year ending immediately before the commencement of the case
                       and for which a Federal income tax return was filed. Proof of income includes, but is not limited
                       to, signed copies of the debtor(s)’s last three tax returns filed and the last three pay stubs received
                       prior to the commencement of the chapter 13 case.
           3.          Inform attorney of any changes in address or telephone number.
           4.          Obtain consumer credit counseling from an authorized provider before filing a petition for
                       bankruptcy.
           THE ATTORNEY AGREES TO:
           1.          Personally counsel debtor(s) regarding the advisability of filing under Chapter 7 or Chapter 13, as
                       well as non-bankruptcy options, and answer debtor(s)’ questions.
           2.          Personally explain to debtor(s) that the attorney is being retained to represent debtor(s) on all
                       matters arising in the bankruptcy case, and explain how and when the attorney's fees and the
                       trustee’s fees are determined and paid.
           3.          Personally review with debtor(s) and obtain debtor(s)’ signatures on the completed petition,
                       schedules, plan and statement of financial affairs, whether filed with the petition or later, and all
                       amendments thereto. These documents may be prepared initially with the help of clerical or
                       paralegal staff of the attorney's office, but personal attention of the attorney is required for the
                       review and signing by debtor(s).
LF-90 (rev. 06/02/08)                                                  Page 1 of 4
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                                 Case 12-20828-RBR                     Doc 1     Filed 05/01/12   Page 49 of 51




           4.          Timely prepare, file and serve debtor(s)’ petition, plan, schedules, statement of financial affairs
                       and all other required pleadings.
           5.          Provide debtor(s) with a copy of the petition, plan, schedules, statement of financial affairs
                       immediately upon execution.
           6.          Explain to debtor(s) how, when and where to make all plan payments as well as all direct
                       payments made outside the plan, with particular attention to mortgage payments and the likely
                       consequences for failure to make such payments.
           7.          Advise debtor(s) to maintain appropriate insurance on all assets.
           8.          Obtain from the debtors a signed Local Form "Declaration Under Penalty of Perjury to
                       Accompany Petitions, Schedules and Statements Filed Electronically" and retain original signed
                       papers as required under Local Rule 5005-4(C).

AFTER THE CASE IS FILED

           THE DEBTOR(S) AGREES TO:
           1.          Timely provide the attorney with all information and documents requested by trustee including
                       any tax returns required under the Bankruptcy Code or by court order to be filed with the court or
                       provided to the trustee or other party in interest under the Bankruptcy Code.
           2.          Inform the attorney and trustee of any changes in address or telephone number.
           3.          Appear punctually at the 341 meeting of creditors with original proof of identification and proof
                       of social security number. Acceptable forms of proof of identification are state issued driver’s
                       license, government-issued identification card, U.S. issued passport, military identification and
                       resident alien card. Acceptable forms of proof of social security number are a social security
                       card, a medical insurance card, a paystub, a W-2 form, an IRS Form 1099 and a Social Security
                       Administration Report.
           4.          Make the first required plan payment to trustee no later than 30 days after the filing of the
                       petition under or conversion to chapter 13 and timely make all subsequent payments.
           5.          Inform the attorney of any garnishments, liens or levies on assets that occur or continue after the
                       filing of the case.
           6.          Inform the attorney immediately if debtor(s) loses employment, is 'laid off' or furloughed from
                       work, or experiences any other significant change in financial situation, including serious illness,
                       personal injury, lottery winnings, inheritance or any other material increase or decrease in income
                       or assets.
           7.          Notify the attorney immediately if debtor(s) is sued or wishes to file a lawsuit, including divorce
                       and matters regarding personal or property injury.
           8.          Notify the attorney if the debtor(s) finds it necessary to incur additional debt.
           9.          Advise the attorney before purchasing, selling or refinancing any real property or before entering
                       into any loan agreements to determine required procedures for court approval.
           10.         Timely file the Local Form "Debtor Certificate of Compliance and Request for Confirmation of
                       Chapter 13 Plan".
           11.         Timely complete the required financial management course and file the Official Bankruptcy
                       Form "Certification of Completion of Course in Personal Financial Management".

LF-90 (rev. 06/02/08)                                                  Page 2 of 4
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                                 Case 12-20828-RBR                     Doc 1     Filed 05/01/12   Page 50 of 51




           12.         Timely file and serve the Local Form "Debtor’s Certificate of Compliance, Motion for Issuance
                       of Discharge and Notice of Deadline to Object".
           13.         Submit a proposed Local Form "Agreed Order to Employer to Deduct and Remit and for Related
                       Matters" signed by the debtors to the court prior to the meeting of creditors.

           THE ATTORNEY AGREES TO:

           1.          Advise debtor(s) of the requirement to attend the meeting of creditors, and notify or remind
                       debtor(s) of the date, time, and place of the meeting in such detail as is helpful or necessary to
                       insure debtor(s)’ appearance.
           2.          Advise debtor(s) of the necessity of being punctual to the meeting of creditors and, in the case of
                       a joint filing, that both spouses must appear at the same meeting of creditors with the required
                       identification.
           3.          Provide competent legal representation for debtor(s) at all times.
           4.          Appear timely at all meetings of creditors and court hearings.
           5.          Personally explain to debtor(s) if an attorney not employed by debtor(s)’ attorney’s law firm
                       ("appearance attorney") will represent them at any meeting of creditors or court hearing.
                       Personally explain to debtor(s), in advance, the role and identity of the appearance attorney,
                       obtain debtor(s) written permission for the appearance attorney to represent debtor(s), and
                       provide the appearance attorney with the file in sufficient time to review it and be prepared to
                       answer all questions.
           6.          Timely submit to trustee all requested information and documentation, including, but not limited
                       to properly documented proof of income for debtor(s) and business documentation for
                       self-employed debtors after requesting and receipt of same from the debtor(s).
           7.          Timely prepare, file and serve all amendments on trustee, creditors and all interested parties.
           8.          Review and respond, if necessary, to all pleadings, correspondence, inquiries and trustee status
                       reports and promptly take the appropriate action.
           9.          Promptly respond to debtor(s)’ questions during the pendency of the case.
           10.         Timely prepare, file and serve all necessary modifications to the plan and amended schedules
                       after confirmation.
           11.         Timely prepare, file and serve all necessary motions, including but not limited, to motions to
                       value collateral; motions to purchase, sell or refinance property; motions to avoid liens; and
                       motions to incur additional debt and, if applicable, the Local Form "Motion to Deem Mortgage is
                       Current", the Local Form "Debtor’s Response to Notice of Fees and Costs Incurred" or Local
                       Form "Debtor’s Response to Notice of Payment Change".
           12.         Timely certify attorney has reviewed proofs of claim with debtor(s) and prepared, filed and
                       served necessary objections.
           13.         Timely file proofs of claim for creditors when applicable.
           14.         Timely appear at and defend all motions against debtor(s) until discharge, conversion or
                       dismissal of the case.
           15.         Provide any other bankruptcy legal services necessary for the administration of the case in
                       accordance with applicable federal and local laws, rules and procedures.


LF-90 (rev. 06/02/08)                                                  Page 3 of 4
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                                 Case 12-20828-RBR                     Doc 1     Filed 05/01/12       Page 51 of 51




           16.         Provide a copy of this agreement immediately upon execution to debtor(s) and to trustee upon
                       filing of the case.

/s/ Rosendo E. Prieto                                                                /s/ James Alan Poe, Esquire
Rosendo E. Prieto                                                                    James Alan Poe, Esquire 0107956
Debtor                                                                               Attorney
15997 SW 14 Street                                                                   9500 S. DADELAND BLVD.
Hollywood, FL 33027                                                                  SUITE 610
                                                                                     MIAMI, FL 33156
                                                                                     305-670-3950

DATED:            May 1, 2012                                                        DATED:      May 1, 2012




LF-90 (rev. 06/02/08)                                                  Page 4 of 4
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